  Case 18-05463-hb              Doc 10       Filed 12/19/18 Entered 12/20/18 00:41:54                          Desc Imaged
                                           Certificate of Notice Page 1 of 2
                                                United States Bankruptcy Court
                                                   District of South Carolina



Case Number: 18−05463−hb                                           Chapter: 7

In re:
 Melvin L Blair
 aka Melvin Lavelle Blair
                                                                                                          Filed By The Court
                                                NOTICE TO FILE PROOF OF                                       12/17/18
                                           CLAIM DUE TO RECOVERY OF ASSETS                                  Laura A. Austin
                                                                                                             Clerk of Court
                                                                                                          US Bankruptcy Court


NOTICE IS GIVEN THAT:

The initial notice in this case advised creditors that is was not necessary to file a proof of claim. However, since that notice was
sent, assets have been recovered by the trustee. Therefore, creditors who wish to share in any distribution of funds must file a
proof of claim with the clerk of the bankruptcy court within the timeframes outlined below:

         For all creditors (except a Governmental Unit):                             For a Governmental Unit:
           90 days after the mailing of this notice.                  180 days after the order for relief, or 90 days after the
                                                                            mailing of this notice, whichever is later.


Creditors who fail to file a proof of claim within the above timeframes may miss the opportunity to share in any distribution from
the debtor's estate.
A proof of claim form may be filed electronically through the court's electronic proof of claim system (ePOC) found on the court's
website at www.scb.uscourts.gov/epoc. A proof of claim form may also be filed by mailing a completed paper form to the
attention of the Claims Clerk at the United States Bankruptcy Court, 1100 Laurel Street, Columbia, SC 29201. There is no filing
fee for filing a proof of claim. Any creditor who has already filed a proof of claim need not file another proof of claim.



                                                                                Laura A. Austin
                                                                                Clerk of Court
                                                                                United States Bankruptcy Court

                                                                                By: B McAbee, Deputy Clerk
                                                                                1100 Laurel Street
                                                                                Columbia, SC 29201−2423
                                                                                (803) 765−5436
        Case 18-05463-hb             Doc 10       Filed 12/19/18 Entered 12/20/18 00:41:54                         Desc Imaged
                                                Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                                District of South Carolina
In re:                                                                                                     Case No. 18-05463-hb
Melvin L Blair                                                                                             Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0420-7                  User: mcabee                       Page 1 of 1                          Date Rcvd: Dec 17, 2018
                                      Form ID: 159BNC                    Total Noticed: 9


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 19, 2018.
db             +Melvin L Blair,   1604 Kateway,   Greenwood, SC 29646-3724
543522569      +Axcess Financial,   7755 Montogomery Road,   Suite 400,    Cincinnati OH 45236-4197
543522574      +Pennymac Loan Services,   Attn: Bankruptcy,   Po Box 514387,    Los Angeles CA 90051-4387

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
543522570      +EDI: IIC9.COM Dec 18 2018 03:51:00      IC SYSTEM,   PO BOX 64378,    ST PAUL MN 55164-0378
543522571       EDI: IRS.COM Dec 18 2018 03:50:00     IRS,    PO BOX 7346,   PHILADELPHIA PA 19101-7346
543522572      +EDI: RESURGENT.COM Dec 18 2018 03:50:00      LVNV Funding/Resurgent Capital,    Attn: Bankruptcy,
                 Po Box 10497,   Greenville SC 29603-0497
543522573      +E-mail/Text: bkcy@mynucu.org Dec 17 2018 22:52:05      NEIGHBORS UNITED FCU,    PO BOX 50777,
                 GREENWOOD SC 29649-0030
543522575      +E-mail/Text: bankruptcy@sctax.org Dec 17 2018 22:52:33      SC DEPT OF REVENUE,    PO BOX 12265,
                 COLUMBIA SC 29211-2265
543522576      +E-mail/Text: bkr@virtuososourcing.com Dec 17 2018 22:52:48       Virtuoso Sourcing Group,
                 4500 Cherry Creek South Drive, Ste 500,    Denver CO 80246-1500
                                                                                              TOTAL: 6

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 19, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 17, 2018 at the address(es) listed below:
              John DeVore Compton, III   on behalf of Debtor Melvin L Blair dee@comptonlawfirm.com,
               djr78030@notify.bestcase.com
              John K Fort   trustee863@gmail.com, SC01@ecfcbis.com
              US Trustee’s Office    USTPRegion04.CO.ECF@usdoj.gov
                                                                                            TOTAL: 3
